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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

UNITED STATES OF AMERICA ex rel.               RELATORS’ NOTICE OF
KATIE BROOKS and NANNETTE                      COMPLIANCE WITH
WRIDE,                                         MEMORANDUM DECISION
                                               AND ORDER (ECF 468)
         Plaintiffs,
vs.                                            Case No. 2:15-CV-00119-JNP-EJF
STEVENS-HENAGER COLLEGE, INC.,
a Utah Corporation; et al.,                    Judge Jill Parrish
         Defendants.                           Magistrate Judge Evelyn J. Furse


         Pursuant to this Court’s Memorandum Decision and Order of January 14,

2019 (ECF 468), Relators are not permitted to participate in the matters raised by

the Court’s Order and Notice of Hearing of February 12, 2019 (ECF 469, 470).

Accordingly, Relators take no position on those matters.




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         DATED this 22nd day of February 2019.


                                        /s/ Brandon J. Mark
                                        BRANDON J. MARK
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                                        Attorneys for Relators




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                           CERTIFICATE OF SERVICE

       I hereby certify on this 22nd day of February 2019 that a true and correct copy
of the foregoing RELATORS’ NOTICE OF COMPLIANCE was served via the
court’s CM/ECF electronic filing system to all counsel of record, including the
following:
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                                          /s/ Brandon Mark




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